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                          ***NOT PRINTED FOR PUBLICATION***

                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

 UNITED STATES OF AMERICA                       '
                                                '
 V.                                             '   CASE NO. 9:16-CR-27(5)
                                                '
 TIFFANY STOVALL                                '

               ORDER ACCEPTING REPORT AND RECOMMENDATION
                   ON DEFENDANT’S MOTIONS FOR RELEASE

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for consideration of Defendant’s motion for compassionate release (Doc. No. 291) and

 motion for extended home confinement (Doc. No. 288). On August 31, 2020, Judge Giblin issued

 his Report and Recommendation (Doc. No. 293). Judge Giblin recommended that the Court deny

 Ms. Stovall’s motions seeking early release.

        The parties have not filed objections. The Court ORDERS that the Report (Doc. No.

 293) is ACCEPTED. Defendant, Tiffany Stovall’s motion for compassionate release (Doc. No.

 291) and motion for home confinement (Doc. No. 288) are DENIED.

                  So ORDERED and SIGNED, Sep 22, 2020.


                                                                   ____________________
                                                                   Ron Clark
                                                                   Senior Judge
